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                                             UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                CIVIL COVER SHEET

I. (a) PLAINTIFFS (Check box if you are representing yourself                   D)              DEFENDANTS                 (Check box if you are representing yourself                  D)
    Tracy Eggleston, individually and on behalf of all others similarly situated                 Direct Protect Security & Surveillance, Inc.



(b) County of Residence of First Listed Plaintiff                  Ventura                      County of Residence of First Listed Defendant
                                                                  ----------------
(EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                              Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                            representing yourself, provide the same information.
    Aaron D. Aftergood (SBN 239853), aaron@aftergoodesq.com 1880 Century Park
    East, Suite 200 Los Angeles, California 90067, Telephone: (310) 551-5221



II. BASIS OF JURISDICTION (Place an                 Xin one box only.)                 III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                             (Place an X in one box for plaintiff and one for defendant)
                                                                                                                     PTF        DEF                                                PTF       DEF
D 1. U.S. Government                    [Zl 3. Federal Question (U.s.                  Citizen ofThis State           0    1    0     1    Incorporated or Principal Place
                                                                                                                                           of Business in this State
                                                                                                                                                                                    0    4   o     4
       Plaintiff                            Government Not a Party)
                                                                                       Citizen of Another State            2          2    Incorporated and Principal Place              5         5
                                                                                                                                           of Business in Another State
D 2. U.s. Government                    D 4. Diversity (Indicate Citizenship           Citizen or Subject of a
                                                                                                                                o
        Defendant                           of Parties in Item III)                    Foreign Country                o               3    Foreign Nation


IV. ORIGIN (Place an X in one box only.)
                                                                                                                                                                             8. Multidistrict
f)(l 1. Original         D
                   2. Removed from               D
                                       3. Remanded from                    D 4. Reinstated or            5. Transferred from Another
                                                                                                                                              D 6. Multidistrict
                                                                                                                                                   Litigation -  D              Litigation -
~      Proceeding     State Court         Appellate Court                            Reopened                 District (Specify)                   Transfer                     Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                [Zl Yes       D    No       (Check "Yes" only if demanded in complaint.)

CLASS ACTION             under F.R.Cv.P. 23:          [ZlYes      D No                        D MONEY DEMANDED IN COMPLAINT:                                    $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
    47 U.s.c. 227, et seq.


VII. NATURE OF SUIT (Place an               X in   one box only).

I       OTHER STATUTES                  CONTRACT            REAL PROPERTY CONT.                 IMMIGRATION                   PRISONER PETITIONS                      PROPERTY RIGHTS
                                                                                                                                                                                                       I
0       375 False Claims Act      o 110 Insurance          10    240 Torts to Land
                                                                                          0
                                                                                                462 Naturalization
                                                                                                Application
                                                                                                                                 Habeas Corpus:                 o 820 Copyrights
       376 Qui Tam                o 120Marine              0     245 Tort Product
                                                                 Liability
                                                                                                                          D
                                                                                                                          D
                                                                                                                               463 Alien Detainee               o 830 Patent
       (31 USC 3729(a))
                                  o 130 Miller Act         0     290 All Other Real       0
                                                                                             465 Other
                                                                                             Immigration Actions
                                                                                                                               510 Motions to Vacate
                                                                                                                               Sentence                         o 835 Patent - Abbreviated
        400 State                     140 Negotiable
                                                                 Property                        TORTS                    D    530 General                          New Drug Application
0       Reapportionment           0   Instrument                     TORTS                 PERSONAL PROPERTY              D    535 Death Penalty            i   0   840 Trademark
                                                                PERSONAL INJURY
0       410 Antitrust                 150 Recovery of                                     0     370 Other Fraud                           Other:                       SOCIAL SECURITY                 I
0      430 Banks and Banking      0   Overpayment &
                                      Enforcement of
                                                           '0    310 Airplane
                                                                                          0                     D
                                                                                                371 Truth in Lending           540 Mandamus/Other               o 861 HIA (1395ff)
0       450 Commerce/ICC              Judgment              0
                                                                 315 Airplane
                                                                 Product Liability                              D
                                                                                                380 Other Personal             550 Civil Rights                 o 862 Black Lung (923)
0
        Rates/Etc.
        460 Deportation
                                  o    151 Medicare Act
                                                            0
                                                                 320 Assault, Libel &     0     Property Damage
                                                                                                                D              555 Prison Condition             o 863 DIWC/DIWW (405 (g))
        470 Racketeer Influ-           152 Recovery of
                                                                 Slander
                                                                 330 Fed. Employers'
                                                                                            385 Property Damage
                                                                                          0 Product Liability
                                                                                                                               560 Civil Detainee               o 864 SSID Title XVI
                                 10                                                                             D
        enced & Corrupt Org.
        480 Consumer Credit
                                       Defaulted Student
                                       Loan (Excl. Vet.)
                                                           0     Liability
                                                                                                 BANKRUPTCY
                                                                                                                               Conditions of
                                                                                                                               Confinement                      o 865 RSI (405 (g))
                                    153 Recovery of
                                                           0     340 Marine
                                                                                                422 Appeal 28              FORFEITURE/PENALTY                         FEDERAL TAX SUITS                I
0       490 Cable/Sat TV
                                  o Vet.                   10                             0
        850 Securities/Com-
                                    Overpayment of
                                         Benefits
                                                                 345 Marine Product
                                                                 Liability
                                                                                                USC 158
                                                                                                                          D
                                                                                                                               625 Drug Related
                                                                                                                               Seizure of Property 21
                                                                                                                                                                o   870 Taxes (U.S. Plaintiff or
0       modities/Exchange                                                                 0
                                                                                                423 Withdrawal 28
                                                                                                                               USC 881
                                                                                                                                                                    Defendant)
                                 10    160 Stockholders'   0     350 Motor Vehicle              USC 157                                                     10      871 IRS-Third Party 26 USC
        890 Other Statutory            Suits
                                                           0
                                                                 355 Motor Vehicle               CIVIL RIGHTS             D     690 Other                           7609
0       Actions                                                  Product Liability
0                           o Contract
        891 Agricultural Acts  1900ther                    10    360 Other Personal       0     440 Other Civil Rights
                                                                                                                          D
                                                                                                                                      LABOR
                                                                                                                               710 Fair Labor Standards
                                                                 Injury                   0     441 Voting
0
  893 Environmental
  Matters                   o Product
                               195 Contract
                                       Liability  0
                                                                 362 Personal Injury-
                                                                 Med Malpratice           0    442 Employment             D
                                                                                                                               Act
                                                                                                                               720 Labor/Mgmt.
                                                                                         i0
  895 Freedom of Info.
0 Act                       o 196Franchise 0                     365 Personal Injury-
                                                                 Product Liability
                                                                                               443 Housing/
                                                                                               Accommodations
                                                                                                                          D
                                                                                                                               Relations
                                                                                                                               740 Railway Labor Act
o 896 Arbitration             REAL PROPERTY
                                                                 367 Health Care/
                                                                                          o    445 American with
                                                                                                                          D
                            o  210 Land
                                                  0              Pharmaceutical                Disabilities-                   751 Family and Medical
                                                                                                                               Leave Act
o 899  Admin. Procedures
  Act/Review of Appeal of
  Agency Decision           o
                               Condemnation
                               220 Foreclosure
                                                                 Personal Injury
                                                                 Product Liability        o
                                                                                               Employment
                                                                                               446 American with          D    790 Other Labor
                                                                                                                               Litigation
o 950  Constitutionality of o 230 Rent Lease &
                                                 I0              368 Asbestos
                                                                                               Disabilities-Other
                                                                                                                          D
  State Statutes                      Ejectment
                                                                 Personal Injury
                                                                 Product Liabilitv
                                                                                          o     448 Education
                                                                                                                               791 Employee Ret. Inc.
                                                                                                                               Secu rity Act


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                                            UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                 CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the (ourt to which this case will be initially assigned. This initial assignment is subject
                                                                                                              I' t or Norlee 0 f Remova.I
 o ch ange, In accord ance WI'th th e ( ourt' s Genera I 0 rd ers, upon reView b y th e ( ou rt o f your ( ompaln

QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                          INITIAL DIVISION IN CACD IS:
                Yes ~ No
                                                    D    Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                  Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the            D    Orange                                                                                                Southern
corresponding division in response to
Question E, below, and continue from there.         D    Riverside or San Bernardino                                                                              Eastern



QUESTION B: Is the United States, or B.l. Do 50% or more of the defendants who reside in                               YES. Your case will initially be assigned to the Southern Division.
                                     the district reside in Orange Co.?

                                                                                            .....
one of its agencies or employees, a                                                                               D    Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                              from there .
                                     check one of the boxes to the right
               DYes ~ No
                                                                                                                 D     NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in                YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question c. If "yes," answer      the district reside in Riverside and/or San Bernardino
Question B.1, at right.                             Counties? (Consider the two counties together.)
                                                                                                                 D     Enter "Eastern" in response to Question E, below, and continue
                                                                                                                       from there.

                                                    check one of the boxes to the right
                                                                                            .....                D
                                                                                                                       NO. Your case will initially be assigned to the Western Division.
                                                                                                                       Enter "Western" in response to Question E, below, and continue
                                                                                                                       from there.


QUESTIONC: Is the United States, or c'1. Do 50% or more of the plaintiffs who reside in the                            YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a district reside in Orange Co.?
                                                                                                                 D
DEFENDANT in this action?

                 Yes ~ No
                                    check one of the boxes to the right                     .....                      Enter "Southern" in response to Question E, below, and continue
                                                                                                                       from there .


                                                                                                                 D     NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the            YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in RiverSide and/or San Bernardino
Question C.1, at right.                             Counties? (Consider the two counties together.)
                                                                                                                 D     Enter "Eastern" in response to Question E, below, and continue


                                                    check one of the boxes to the right     .....                D
                                                                                                                       from there .

                                                                                                                       NO. Your case will initially be assigned to the Western Division.
                                                                                                                       Enter "Western" in response to Question E, below, and continue
                                                                                                                       from there.
                                                                                                                  A.                             B.                              C.
                                                                                                                                        Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?
                                                                                                          Orange County               Bernardino County             Santa Barbara, or San
                                                                                                                                                                     Luis Obispo County

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)                                  0                             0                               ~
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)
                                                                                                                 0                             0                               0
                 0.1. Is there at least one answer in Column A?                                                 0.2. Is there at least one answer in Column B?
                                    DYes            ~ No                                                                            DYes           ~ No
                     If "yes," your case will initially be assigned to the                                           If "yes," your case will initially be assigned to the
                                  SOUTHERN DIVISION.                                                                               EASTERN DIVISION.



                           If "no," go to question D2 to the right.          .....
     Enter "Southern" in response to Question E, below, and continue from there .                                    Enter "Eastern" in response to Question E, below.

                                                                                                              If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                                   Enter "Western" in response to Question E, below.
                                                                                                                                                                                       l
QUESTION E: Initial Division?                                                                                                  INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                .....     WESTERN

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                  [g]    Yes       o    No
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IX(a}. IDENTICAL CASES: Has this action been previously filed in this court?                                                                    [g]   NO            DYES

        If yes, list case number(s):


IX(b}. RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                [g]   NO            DYES
        If yes, list case number(s):



        Civil cases are related when they (check all that apply):

               o     A. Arise from the same or a closely related transaction, happening, or event;

               o     B. Call for determination of the same or substantially related or similar questions of law and fact; or

               o     C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

               o     A. Arise from the same or a closely related transaction, happening, or event;

               o     B. Call for determination of the same or substantially related or similar questions of law and fact; or

               o     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                     labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): _ls_I_A_a_ro_n_A_ft_e-'r9=--o_o_d_ _ _ _ _ _ _ _ _ _ __                                              DATE:      11/25/2019

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-?l and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-O?l A).




Key to Statistical                to Social Security Cases:

     Nature of Suit Code       Abbreviation                     Substantive Statement of Cause of Action
                                                    All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        361                        H~               include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                    (42 U.s.c. 1935FF(b))

        362                        BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.s.c.
                                                    923)

                                                    All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
         363                       DIWC
                                                    all claims filed for child's insurance benefits based on disability. (42 U.S.c. 405 (g))

                                                    All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
         363                       DIWW
                                                    amended. (42 U.s.c. 405 (g))

                                                    All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
         364                       SSID
                                                    amended.


         365                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                    {42 U.s.c. 405 (g))




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